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                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF MISSISSIPPI
                                      GREENVILLE DIVISION


BRENDA J. COOPER, et al.,
                                                        Judge Debra M. Brown
                                                        Magistrate Judge Jane M. Virden
                         Plaintiffs,
                                                        Lead Case No. 4:16-cv-52
v.
                                                        Consolidated with:
MERITOR, INC.,
                                                          Sledge v. Meritor, Inc., No. 4:16-cv-53
ROCKWELL AUTOMATION, INC.,
                                                          Cooke v. Meritor, Inc., No. 4:16-cv-54
THE BOEING COMPANY, and
                                                          SRA Invests., LLC v. Meritor, Inc., No. 4:16-cv-55
TEXTRON, INC.,
                                                          Willis v. Meritor, Inc., No. 4:16-cv-56
                         Defendants.†



                                 REPLY IN SUPPORT OF
                       TEXTRON’S MOTION FOR SUMMARY JUDGMENT




†
     In accordance with the Court’s October 25, 2017 Order, ECF No. 351, this reply and the accompanying motion
for summary judgment apply to the claims brought by the Plaintiffs in the Cooper case, No. 4:16-cv-52.
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                                         INTRODUCTION

        Plaintiffs’ theories about contamination on their properties have morphed each time that

Defendants point out the flaws. But one thing remains constant: Plaintiffs lack admissible evidence

showing contamination on each of their properties and connecting that contamination to Textron.

Plaintiffs’ opposition tries to obscure that defect by raising a host of irrelevant facts to make it seem

as though there are factual disputes here. Plaintiffs go so far as to primarily rely on previously

undisclosed expert opinions and liability theories in brand-new affidavits and on inadmissible

hearsay in the hope that the Court will be too overwhelmed to sort out whether Plaintiffs have

presented admissible evidence to support their actual legal claims against Textron.

        The issue is not simply whether there is contamination beneath a portion of the neighborhood

or the Facility; there is. The critical point is that Textron is liable for contamination of Plaintiffs’

properties if—and only if—Textron released contaminants into the environment and those same

contaminants actually migrated onto each Plaintiff’s property. While Plaintiffs’ brief puts up a lot

of smoke and mirrors, it does not establish a factual dispute on this critical issue. Plaintiffs concede

that Textron did not dispose of waste anywhere off site and that their only theory against Textron

stems from contamination at the Facility. But Plaintiffs have no admissible evidence connecting

Textron’s operation of the Facility from 1985 to 1999 to the contaminants on Plaintiffs’ properties:

    •   Plaintiffs cannot show that Textron’s air emissions at the Facility over twenty-five years
        ago caused TCE to migrate onto Plaintiffs’ properties. Plaintiffs withdrew their only air-
        emissions expert—leaving unrebutted Defendants’ expert’s conclusion that historical TCE
        emissions would have evaporated within weeks of their release.

    •   Plaintiffs cannot show that contamination in the groundwater under the Facility (from
        leaks, spills, and on-site disposal by Rockwell) has ever moved into the Eastern Heights
        neighborhood. Plaintiffs’ own experts concede that it does not.

    •   Plaintiffs cannot show that groundwater contamination has moved upward onto their
        properties through vapor intrusion. Plaintiffs “do not rely on vapor intrusion,” Opp’n 11,
        Doc. No. 654, and their only vapor-intrusion expert has repudiated his opinions three times
        in this case.
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         Because of Plaintiffs’ lack of competent proof, Plaintiffs felt the need to rely primarily on

inadmissible hearsay and on four new, untimely expert affidavits with never-before-seen theories

and opinions about purported arsenic, lead, chromium, TCE, and BTEX contamination in some

groundwater samples. Putting aside that those untimely affidavits must be disregarded, see Defs.’

Mem. in Supp. of Mot. to Strike, Doc. No. 701, none of them save Plaintiffs’ claims against Textron.

Plaintiffs still have no admissible evidence that Textron is responsible for any of these contaminants

in groundwater under Plaintiffs’ properties, and Plaintiffs’ own experts agree that there is no data

showing that groundwater under the Facility ever moved north under Plaintiffs’ properties. The most

that these brand-new expert opinions purport to show is that TCE and chromium are present in the

groundwater beneath some of the neighborhood—not on Plaintiffs’ properties. Under Mississippi

law, the State owns the groundwater—as the State has explained to the U.S. Supreme Court and as

Plaintiffs’ counsel has explained in a parallel action filed against Defendants on behalf of the State.

The fact that Mississippi may grant a permit to a resident to use groundwater or surface water does

not mean the resident owns the water—and there is no dispute that Plaintiffs here do not even use

the groundwater. Thus, no claim lies for solely groundwater contamination.

         In short, Textron is entitled to judgment as a matter of law on all of Plaintiffs’ claims.

                                                ARGUMENT1

I.       Plaintiffs Fail To Create A Disputed Issue Of Material Fact As To Causation.

         Plaintiffs’ response boils down to the following argument: there are some contaminants in

some of the groundwater under the Facility; there are some (different) contaminants in some of the

groundwater under the Eastern Heights neighborhood; therefore, the Facility’s groundwater must

have caused the contamination in the neighborhood. This is a flawed syllogism. Missing from


1
     Plaintiffs rely on a background section and did not submit a numbered statement of additional facts for Textron
to respond to. Textron thus responds to the facts asserted by Plaintiffs where appropriate in this Argument section.


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Plaintiffs’ response is any admissible evidence connecting the contamination in those two

locations—or any evidence connecting that contamination to Textron. Assertions and assumptions

are not enough to defeat summary judgment. E.g., Anthony v. Chevron USA Inc., 284 F.3d 578,

588-89 (5th Cir. 2002) (affirming summary judgment for lack of causation in water and soil

contamination case where the plaintiffs’ experts merely “locat[ed] all of the sites [of

contamination] near [the defendant]’s operations” and pointed to the “proximity of [the

defendant’s operations] and the contamination,” which “is insufficient”).

         A.       Plaintiffs Have No Admissible Evidence That Textron Caused Contamination
                  Of Their Properties Via Air Emissions Or Vapor Intrusion.

         Plaintiffs cannot rely on their complaint’s theories of air emissions or vapor intrusion to show

causation because they have disavowed these theories and their only experts on these topics.

         Plaintiffs flawed theory that historic air emissions of TCE from the Facility migrated onto

Plaintiffs’ properties came to a halt when Plaintiffs withdrew their only expert on air modeling and

emissions because of fundamental flaws in his analysis. See Textron’s Mem. in Supp. of Mot. for

Summ. J. (“Mem.”) at 19, Doc. No. 592. As Plaintiffs do not dispute, that leaves the opinions of

Defendants’ expert Ranjit Machado unrebutted and thus the only record evidence on air emissions

is Machado’s conclusion that any TCE emitted from the Facility between 1985 and 1999 “would

have quickly been diluted” and ultimately “eliminated from the air within weeks of its release”

because “the half-life of TCE in the atmosphere is approximately 7 days.” Machado Rpt. at 33 (Ex.

48 to Textron’s Mot. for Summ. J.).2 Thus, any TCE emitted into the air by Textron would have

been long gone and not present on any Plaintiff’s property. Id.




2
     The only evidence Plaintiffs cite is an internal Textron audit report from 1989 that simply provides data about the
estimated volume of Textron’s annual air emissions (which were also disclosed to regulators). See Opp’n 6. (citing
ERM Audit Report (Ex. 3 to Opp’n)). That report does not and cannot show that air emissions from more than twenty-
five years ago migrated onto Plaintiffs’ properties today. The unrebutted evidence is to the contrary.


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         Plaintiffs previously offered vapor-intrusion opinions from James Fineis, which claimed that

alleged contamination moved from groundwater up through the soil into Plaintiffs’ properties. See

also Fourth Am. Compl. ¶¶ 33-34, Doc. No. 43; Opp’n 11. Plaintiffs have now abandoned that

theory: in their words, “Plaintiffs do not rely on vapor intrusion to show that their properties are

contaminated.” Opp’n 11 (emphasis omitted). And Fineis, their only vapor-intrusion expert, has

now repudiated his written report’s vapor-intrusion opinions for the third time in this case in a brand-

new affidavit. See Aff. of J. Fineis at 3, ECF No. 626-2. Plaintiffs thus have not and cannot show

that their properties were contaminated via air emissions or vapor intrusion.

         B.       Plaintiffs Have No Admissible Evidence That Textron Caused Contamination
                  Of Their Properties Via Groundwater.

         Because Plaintiffs have admitted that Textron did not dispose of contaminants on their

properties and have no evidence of air emissions or vapor intrusion, the only potential pathway for

contamination is groundwater. Critically, it is not enough for Plaintiffs to say that some groundwater

is contaminated. To survive summary judgment, Plaintiffs need evidence that Textron contaminated

the groundwater and that the same contaminants moved into the neighborhood and onto these

Plaintiffs’ nine properties. See, e.g., Anthony, 284 F.3d at 588-89 (causation requires proof that the

contaminants on the plaintiff’s property “originated” from the specific defendant’s conduct).

         Plaintiffs do not dispute that Textron did not dispose of any hazardous waste off-site in the

Moose Lodge Road Area. See, e.g., Textron’s Reply in Supp. of Statement of Undisputed Facts,

Doc. No. 709 (“Reply SOF”) ¶ 11. Thus, the only potential source of contamination that Plaintiffs

try to attribute to Textron is the operation of the Facility itself, during Textron’s ownership from

1985 to 1999. 3 To this end, Plaintiffs point to five alleged contaminants: arsenic, lead, TCE,


3
    Plaintiffs assert, for the first time, that Textron knew of and fraudulently concealed Rockwell’s TCE and toluene
leaks from regulators. That theory is not properly part of this case at all because Plaintiffs dismissed their fraudulent



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hexavalent chromium, and BTEX. But Plaintiffs have not presented any evidence that Textron

caused releases of any of those contaminants into the groundwater and that the contaminated

groundwater from the Facility flowed north onto these Plaintiffs’ nine properties.

                  1.       Arsenic And Lead

         To start, the Court should disregard any theories based on arsenic and lead contamination.

This is yet another new theory based on previously undisclosed expert opinions in new affidavits

that Plaintiffs have submitted in response to Textron’s summary judgment and Daubert motions.

See Defs.’ Mem. in Supp. of Mot. to Strike at 1, 7, 10-12, Doc. No. 701. Regardless, Plaintiffs offer

no evidence that Textron used or released arsenic or lead into the groundwater during Textron’s

ownership. Plaintiffs’ new expert affidavits do not opine that Textron’s operation of the Facility

caused any arsenic or lead contamination on Plaintiffs’ properties. Thus, arsenic and lead cannot be

attributed to Textron and cannot be a basis for denying summary judgment.

                  2.       Hexavalent Chromium And TCE

         Plaintiffs make only one attempt to attribute chromium and TCE contamination to Textron:

Textron’s closure of the equalization lagoon. Again, the Court should disregard any theories about

chromium because Plaintiffs’ only basis for the alleged presence of chromium in the groundwater


concealment claim and cannot resurrect it now. See Joint Stipulation of Dismissal without Prejudice, ECF No. 174;
see also De Franceschi v. BAC Home Loans Serv., L.P., 477 F. App’x 200, 204 (5th Cir. 2012) (district courts properly
“disregard claims or theories of liability not present in the complaint and raised first in a motion opposing summary
judgment” (emphasis added)). And that theory is legally baseless. Plaintiffs do not cite any admissible evidence that
Textron actually knew of the contamination that Rockwell had left behind or that Textron failed to promptly report it
to regulators when it was discovered. Instead, Plaintiffs base their fraudulent concealment theory solely on the
assertion that knowledge by a few Rockwell employees of Rockwell’s contamination is somehow imputed to Textron
because those employees stayed on after Textron’s purchase of the facility. See Opp’n 7. Plaintiffs’ novel imputation
theory that one employer is legally responsible for actions taken by an employee while he worked for a different
employer is wrong as a matter of law. Plaintiffs do not cite any authority for that theory, and for good reason: it
contradicts black-letter Mississippi law that “[a]n ‘employer is responsible for the torts of its employee only when the
torts are “committed within the scope of the employment.’” Parmenter v. J & B Enters., Inc., 99 So. 3d 207, 215-17
(Miss. Ct. App. 2012); Barfield v. Madison Cty., 212 F.3d 269, 272 (5th Cir. 2000) (district courts may not “expand
state law beyond its presently existing boundaries” (citation omitted)). In any event, this fraudulent concealment,
imputed knowledge theory would not cure the causation defects in their claims because there is no admissible evidence
that groundwater under the facility has ever flowed towards and under Plaintiffs’ properties. See infra pp. 6-7.



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beneath their properties is their brand-new, untimely expert affidavits—which for the first time

opined on the alleged presence of chromium in some groundwater (relying on a third-party written

report by Arcadis). See Defs.’ Mem. in Supp. of Mot. to Strike at 6-12, Doc. No. 701. Plaintiffs’

theory is also factually unsupported on its face. For example, Plaintiffs present no admissible

evidence that Textron deposited any TCE in the equalization lagoon.4 But setting aside the lack of

an admissible factual basis for this theory and even assuming that it were true, Textron is still entitled

to summary judgment for two reasons.

         First, even if TCE and hexavalent chromium entered the groundwater under the Facility

(regardless of the on-site source), Plaintiffs have no evidence that groundwater under the Facility

has ever moved north under their nine properties. As Plaintiffs do not dispute, their own groundwater

experts have admitted that groundwater underneath the Facility moves west away from the

neighborhood (not towards it), that under current conditions groundwater “is not expected to cross

from” the Facility to the neighborhood, and that they had not seen any historical data to the contrary.

See Mem. 11; Reply SOF ¶¶ 34-35, 37, 39, 41. The only admissible evidence that Plaintiffs cite are

irrelevant maps showing groundwater flow from the off-site Moose Lodge Road Area to the

neighborhood—not from the Facility to the neighborhood. See Opp’n 13; Textron’s Reply Mem. in

Supp. of Mot. to Exclude Testimony of Pls.’ Groundwater Experts at 1, 3-4, Doc. No. 698.5

         Plaintiffs try to undo their experts’ admissions by submitting new affidavits with new



4
     See, e.g., Opp’n 3 (“The EQ Lagoon received process waters from the roll department, the boilers, the chrome-
plating units, boil-off unit, butler wash, buff wash and buff basement, and stormwater. . . . These wastewaters included
electroplating wastes that contained hexavalent and trivalent chromium.”) (emphasis added).
5
     The other evidence cited by Plaintiffs—an 86-page, third-party report by private contractor Tetra Tech—is not
only inadmissible hearsay, see Reply SOF ¶ 33, but also does not show that contaminated groundwater has flowed
from the facility into the neighborhood. It does not show, as Plaintiffs assert, that “concentration trends consistent
with the transfer of contaminants via groundwater from the Facility to Eastern Heights.” Opp’n 13. Rather, the Tetra
Tech Report notes that there are contaminants in the groundwater beneath the Facility and some of the same
contaminants in groundwater samples collected offsite. Tetra Tech Report at 26, Doc. No. 618-2. As the old adage
goes, correlation does not equal causation—and the report does not show that groundwater is flowing north from the
Facility. A third party’s hearsay and assumptions are no substitute for admissible evidence.


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opinions, such as Dr. Simonton’s assertion that “[t]he concentrations at which the contaminants are

found in the neighborhood decrease gradually and consistently as the distance from the Facility

increases, supporting the conclusion that the Facility is the source of these contaminants.”

Simonton Aff. ¶ 12, Doc. No. 618-44. The Court should reject Plaintiffs’ efforts to redo expert

discovery with new opinions that are inconsistent with prior opinions. See Defs.’ Mem. in Supp. of

Mot. to Strike, Doc. No. 701. But Plaintiffs’ need to add new and different opinions at this late

stage underscores that Plaintiffs lack competent evidence to defeat summary judgment.

         Second, even if Plaintiffs’ new expert opinions were considered and even if TCE and

chromium entered the groundwater and moved north under Plaintiffs’ properties, Plaintiffs have no

evidence that these contaminants moved onto their properties from the groundwater. As Plaintiffs

do not dispute, their own experts’ testing shows that seven of their nine properties do not have any

TCE, one has TCE only in groundwater, and one has TCE only in groundwater and sub-slab gas.

And their new expert opinions still present no evidence that TCE or chromium in groundwater under

their properties has ever migrated onto their properties, especially since Plaintiffs disclaim their only

causal theory on that point (vapor intrusion). See Reply SOF ¶¶ 49-57; supra pp 3-4. Groundwater

thus cannot be a conduit for TCE or chromium to have moved onto Plaintiffs’ properties.

         As a result, Plaintiffs advance a new, legally meritless theory that they have a property

interest in the state-owned groundwater itself. The State of Mississippi indisputably owns the

groundwater under Mississippi Code § 51-3-1. As the State of Mississippi has explained to the U.S.

Supreme Court, this statutory provision means that “[b]oth surface water and groundwater are

regarded as property of the State of Mississippi.”6 The State, represented by the same counsel as


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    Mississippi’s Resp. in Opp’n to Defs.’ Mots. for J. on the Pleadings at 10, Mississippi v. Tennessee, No. 143
(U.S. Apr. 6, 2016) (brackets in original) (quoting Richard J. McLaughlin, “Mississippi” in 6 Water and Water
Rights, 712 (Robert E. Beck, Ed., 1991 ed., repl. Vol. 2005)) (Ex. 51).



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Plaintiffs here, has similarly reiterated its sovereign authority over the groundwater in a parallel

action against Defendants. 7 Individual landowners thus do not have a property interest in

groundwater except to the extent that they use the groundwater, see Mem. 12-13, and Plaintiffs have

admitted that they do not use the groundwater beneath their properties, see Reply SOF ¶¶ 70-72.8

Tellingly, a Mississippi landowner who wishes to use the groundwater beneath his property for a

particular purpose must obtain permission from the State to do so via a groundwater withdrawal

permit. Riverbend Utils., Inc. v. Miss. Env’tl Quality Permit Bd., 130 So. 3d 1096, 1102-06 (Miss.

2014). Plaintiffs simply assume—without citing evidence—that contamination in the groundwater

must entail contamination in the soil beneath their homes. There is no basis for that claim here.

                  3.       BTEX

          Plaintiffs’ sole theory that Textron caused BTEX contamination on their properties is to

point to leaks from an underground gasoline storage tank at the Facility. That theory, too, is factually

unsupported because Plaintiffs do not cite any admissible evidence that this tank leaked during

Textron’s ownership of the Facility.9 But again, even assuming that theory were true, Plaintiffs do


7
     Compl. ¶ 1, Mississippi ex rel. Hood v. Meritor, Inc., No. 17-cv-84 PL (Miss. Ch. Ct., Grenada Cty., Apr. 7,
2017) (Ex. 52).
8
     Plaintiffs cite two cases purporting to show that Mississippi law gives them a freestanding property interest in
contaminated groundwater, see Opp’n 10-11, but both only highlight the flaw in Plaintiffs’ attempt to claim
groundwater contamination. Board of Sup’rs of Clarke County v. Mississippi Lumber Co., 31 So. 905 (Miss. 1902),
pre-dates, by over half a century, the enactment of the Mississippi statute that places ownership of the groundwater in
the State, see Mississippi Code § 51-3-1, and Mississippi’s permit system for granting licenses to use the State’s
groundwater. See Ex. 51 (Mississippi’s Resp. in Opp’n to Defs.’ Mots. for J. on the Pleadings at 9-10) (explaining
that “[i]n 1985 Mississippi codified the public trust over all waters in Mississippi in its ‘Omnibus Water Rights
Act,’ which” included Miss. Code § 51-3-1). Bradley v. Armstrong Rubber Co., 130 F.3d 168 (5th Cir. 1997), did
not involve claims of contaminated groundwater alone, but instead involved claims for contamination of the plaintiffs’
“soil and water beneath their properties,” with evidence that vapor intrusion was possible—and the Fifth Circuit
affirmed judgment on that nuisance claim because, as here, any “contamination is below the surface of their land and
cannot be seen, smelled, or otherwise sensed.” Id. at 171. Plaintiffs also cite Ivory v. IBM Corp., 983 N.Y.S.2d 110
(N.Y. App. Div. 2014), which not only involved claims for contamination of the plaintiffs’ soil as in Bradley, but also
explicitly rejected Plaintiffs’ argument here: “[Plaintiffs] cannot support trespass claims based on contaminated
groundwater, because groundwater does not belong to the owners of real property, but is a natural resource entrusted
to the state by and for its citizens.” Id. at 117 (citations omitted).
9
     The only admissible evidence Plaintiffs cite is the testimony of a former plant chemist at the facility, Garry Boyd,
who testified only that a leaking unleaded gasoline tank was removed from the facility “sometime in ’85.” Boyd Dep.



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not have any admissible evidence showing causation. Plaintiffs claim that BTEX is present on some

of their properties, but they have no proof of how it ended up there given the undisputed fact that

there is no BTEX in any groundwater beneath their properties, see Reply SOF ¶¶ 49-57, and the

undisputed fact that groundwater does not and has never flowed from the Facility to under Plaintiffs’

nine properties, see supra pp. 6-7. Plaintiffs’ attempts to cite Defendants’ experts to support this

theory only disproves it: Defendants’ experts confirmed that there is no BTEX in the groundwater

under Plaintiffs’ properties, see Reply SOF ¶¶ 49-57, and testified that any BTEX in the

neighborhood came from automobile exhaust—just as the EPA has also concluded.10

II.      Each Of Plaintiffs’ Claims Suffers From Claim-Specific Defects.

         A.       All Plaintiffs’ Emotional Distress Claims Fail.

         Plaintiffs abandon their negligent infliction of emotional distress claim and concede that it

would require evidence of a future “injury that is medically cognizable. . . .” Opp’n 14. Plaintiffs

offer no response to Textron’s arguments that they lack such evidence. See Mem. 17-18.

         Instead, Plaintiffs defend only their claim for intentional infliction of emotional distress, but

Textron is entitled to summary judgment on this claim as well. See Mem. 18 n.13. Beyond the

fundamental problems with Plaintiffs’ arguments described above (such as lack of admissible

evidence of causation), those arguments cannot support a claim for intentional infliction of emotional

distress. The most that Plaintiffs’ theories against Textron could hypothetically show is negligence


Tr. 137:17-20 (Ex. 10 to Opp’n). On its face, Boyd’s testimony does not state that the leak occurred during Textron’s
period of ownership beginning on July 1, 1985, or whether the tank was even still in place as of that date. Plaintiffs’
remaining evidence is inadmissible hearsay: emails from Meritor’s private contractors Jim Peeples and Arcadis. Even
if they were admissible against Textron, none of that evidence even purports to show that leaks from the underground
gasoline tank—much less the removal of the tank—is the source of BTEX contamination in the neighborhood,
especially when Plaintiffs have no BTEX in the groundwater beneath their properties.
10
     E.g., R. Machado Dep. Tr. 163:8-165:17, 167:11-168:13 (Ex. 53); Machado Rpt. at 19 (Ex. 48 to Textron’s Mot.
for Summ. J.); R. Powell Rpt. at 8 (Ex. 48 to Meritor’s Summary Judgment Appendix); EPA Fact Sheet #9 (Ex. 32 to
Textron’s Mot. for Summ. J.) (“Chemicals related to gasoline, like benzene, xylenes, toluene, and 1,2,4-
trimethylbenzene, were detected in the outdoor air in and around Eastern Heights. These chemicals are common in
the environment due to vehicle exhaust.”).



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in closing the equalization lagoon under an agreed order with the Mississippi Department of

Environmental Quality or in removing a gasoline tank. Plaintiffs do not point to admissible evidence

that Textron intentionally disposed of such contaminants anywhere—and thus cannot show that

Textron “acted willfully or wantonly toward” Plaintiffs by engaging in conduct that was “outrageous

in character.” Jones v. City of Hattiesburg, 228 So. 3d 816, 819 (Miss. Ct. App. 2017) (en banc).11

          B.      All Plaintiffs’ Nuisance Claims Fail.12

          Plaintiffs confirm that their nuisance claims are based solely on TCE “in the air” that is

supposedly causing interference with Plaintiffs’ use and enjoyment of their properties. See Opp’n

16. But Plaintiffs do not present any admissible evidence to contest their own expert’s testing, which

shows that there is no TCE in the background or indoor air of any Plaintiff’s property.13 Plaintiffs

merely cite the presence of TCE in the air elsewhere in Grenada—which cannot support these

Plaintiffs’ claims. Moreover, Plaintiffs offer no response on causation. 14 Plaintiffs expressly

abandon their vapor intrusion theory; their only vapor-intrusion expert has disclaimed any opinion

that vapor intrusion is occurring at Plaintiffs’ properties, see supra pp.3-4; and Plaintiffs have

withdrawn their only air-emissions expert. Most importantly, Plaintiffs make no attempt to show

how Textron caused any TCE in the air today, especially given Defendants’ unrebutted expert

evidence that historical TCE emissions would have evaporated from the air within weeks.15


11
     Plaintiffs unsupported assertions that Textron supposedly “made no effort to ameliorate the danger to . . . its
workers or the environment,” Opp’n 14, has nothing to do with these Plaintiffs and thus cannot show that Textron
“acted willfully or wantonly toward” these Plaintiffs. Jones, 228 So. 3d at 819 (emphasis added).
12
     Plaintiffs concede that Textron is entitled to summary judgment on the nuisance claims of Betty Phillips and Alice
Crumley because they “are not residents of Eastern Heights” and thus have not experienced any interference with the
use and enjoyment of their property. Opp’n 16 & n.2.
13
     Although Plaintiffs say “Textron’s contention that ‘there is no TCE in the outdoor air’ is simply inaccurate,”
Opp’n 15, what Textron actually said is that “there is no TCE in the outdoor air on their properties.” Mem. 19
(emphasis added).
14
     Plaintiffs’ entire response (including the deposition testimony from Plaintiffs they cite) is focused on the different
question whether there is interference with Plaintiffs’ use and enjoyment of their properties, rather than the argument
raised by Textron’s motion: whether Textron’s conduct has caused that interference.
15
     Plaintiffs state that “Defendants’ experts . . . have identified the EQ lagoon as the most likely source of soil gas



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III.     Plaintiffs’ Damages Theories Fail Under Mississippi Law.

         A.       Plaintiffs Agree That They Cannot Seek Remediation And Replacement Costs.

         Plaintiffs agree that Textron is entitled to summary judgment on any claims for remediation

or replacement costs because those costs “exceed the value of the properties of the Plaintiffs” and

thus that their “damages are limited to the value of their properties.” Opp’n 16.

         B.       Plaintiffs Do Not Present Any Evidence To Support The Need For Relocation.

         Plaintiffs do not respond at all to the lack of any factual basis for relocation. See Mem. 21.

Plaintiffs concede that “the burden rests with Plaintiffs to establish that they are entitled to be

relocated,” Opp’n 17, but then do not point to any evidence from which a jury could find that

relocation is needed. To the contrary, Plaintiffs’ opposition merely asserts that they are entitled to

the costs of relocation “should relocation be determined necessary.” Opp’n 17 (emphasis added).

Plaintiffs are not entitled to have a jury determine whether relocation is necessary absent presenting

some admissible evidence at this stage to support that claim. Because Plaintiffs make no attempt to

shoulder that burden, Textron is entitled to summary judgment. Indeed, Plaintiffs do not offer any

response to the evidence affirmatively showing that relocation is not necessary, including that nine

of the ten Plaintiffs have no TCE on their properties at all, none of the Plaintiffs have any TCE in

their indoor or outdoor air, and the EPA’s findings that “there is no immediate threat to public health”

and that none of the EPA guidelines support temporary or permanent relocation here. Mem. 21.16


contamination in the Eastern Heights area.” Opp’n 15. But the only evidence they cite for this statement is a third-
party report from Meritor’s private contractor T&M. See T&M Rpt. (Ex. 22 to Opp’n) (“This letter is provided by
T&M Associates, Inc. (T&M) on behalf of Meritor, Inc. (Meritor) ….”). That is not proof against Textron.
16
     The Court thus need not reach Textron’s separate argument that the law prohibits recovery of relocation costs on
top of diminished value, which is the only argument to which Plaintiffs offer a response. Textron would also be
entitled to summary judgment on this ground as well. Plaintiffs’ sole response is to point to Mississippi law allowing
a landowner to recover “special and incidental damages” that are “separate, distinct and independent of the
depreciation of the value of the property,” such as “annoyance, discomfort, inconvenience and sickness,” and to simply
assert, without explanation or authority, that relocation costs fit into this category. Opp’n 17 (emphasis and citation
omitted). The type of relocation costs envisioned by Plaintiffs—costs to relocate to entirely new replacement
properties—are not “separate, distinct and independent of the depreciation of the value” of Plaintiffs’ properties. The



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         C.       Plaintiffs Cannot Satisfy Their Burden Of Presenting Clear And Convincing
                  Evidence To Support Their Punitive Damages Claim Against Textron.

         Plaintiffs offer virtually no argument for punitive damages. Plaintiffs agree that they must

present “clear and convincing evidence that [Textron] acted with actual malice, gross negligence

which evidences a willful, wanton or reckless disregard for the safety of others, or committed actual

fraud.” Abel v. Allstate Prop. & Cas. Ins. Co., No. 4:14-cv-00064-DMB, 2015 WL 1292220, at *4

(N.D. Miss. Mar. 23, 2015) (Brown, J.) (quoting Miss. Code § 11-1-65(1)(a)). The Mississippi

Supreme Court “has only allowed punitive damages where the facts are highly unusual and the cases

extreme,” and Plaintiffs have not come close to presenting clear and convincing evidence that this is

one of those “extraordinary” cases. Bradfield v. Schwartz, 936 So. 2d 931, 936-37 (Miss. 2006).

         Plaintiffs do not present any evidence that Textron acted with actual malice or fraud toward

Plaintiffs. Plaintiffs’ only argument is a single assertion that “the record is replete with evidence that

Textron did, in fact, cause contamination during its ownership of the plant, and that its actions were

intentional and done, at a minimum, without regard for the foreseeable harm to others that might

occur as a consequence”—without citing any evidence.

         That is wrong for the reasons explained above. See supra Part I. And that lack of evidence

tying Textron’s conduct or contamination at the Facility to Plaintiffs’ properties looms even larger

in the context of punitive damages. Under the Due Process Clause, conduct that is “independent

from the acts upon which liability was premised[] may not serve as the basis for punitive damages,”

and punitive damages may be awarded only for defendant’s “conduct that harms the plaintiff,” not



entire reason that Plaintiffs claim relocation costs is because they believe their homes’ values have no worth and are
uninhabitable. Plaintiffs do not cite any authority from any jurisdiction, much less Mississippi precedent, permitting
recovery of relocation costs on top of the diminished value of their properties. Absent such authority from Mississippi
appellate courts, this Court may “not create innovative theories of recovery or defense” under state law, Cimino v.
Raymark Indus., Inc., 151 F.3d 297, 314 (5th Cir. 1998) (citation omitted), or “expand state law beyond its presently
existing boundaries,” Barfield, 212 F.3d at 272 (citations omitted).



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merely what Plaintiffs view as “unsavory” conduct or conduct that harms third parties. State Farm

Mut. Auto Ins. Co. v. Campbell, 538 U.S. 408, 422-23 (2003). 17 Thus, Plaintiffs’ kitchen-sink

approach of theories about fraudulent concealment (which was dismissed, see supra note 3), the

equalization lagoon, BTEX in the groundwater under the Facility, lead and arsenic on their

properties, and so on could not constitutionally serve as the basis for punitive damages.

          Stripped of those theories, all that Plaintiffs could possibly be left with is their claim that

Textron emitted TCE into the air over twenty-five years ago. Even if they had admissible evidence

to create a genuine issue of material fact on those theories (which they do not, see supra pp.3-4), that

theory does not show “willful, wanton or reckless” conduct required for punitive damages. Plaintiffs

concede that “willful or wanton conduct” “requires knowingly and intentionally doing a thing or a

wrongful act” and that “more than mere negligence” is required. Opp’n 18 (emphasis added)

(quoting, inter alia, Collins v. City of Newton, No. 2017-CA-00137-SCT, 2018 WL 1193549, at *8

(Miss. Mar. 8, 2018)). Plaintiffs do not present any evidence that Textron knowingly or intentionally

contaminated any groundwater. See supra note 3. And there is no basis for holding that Textron’s

emissions of TCE into the air in accordance with EPA regulations, which Textron reported to the

EPA, is grounds for punitive damages. See Reply SOF ¶ 21.

                                                  CONCLUSION

          The Court should grant Textron’s motion for summary judgment on all of Plaintiffs’ claims.




17
    See, e.g., Cayne v. Wash. Trust Bank, No. 2:12-cv-00584, 2015 WL 7185433, at *2 (D. Idaho Nov. 13, 2015)
(conduct cannot be used to support punitive damages if it “is not the act upon which liability in this case is premised”);
Perez Librado v. M.S. Carriers, Inc., No. 3:02-cv-2095-D, 2004 WL 1490304, at *5 n.9 (N.D. Tex. June 30, 2004)
(no punitive damages based on the defendant’s safety violations other than those “that arguably caused the accident”).


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Dated: May 30, 2018            Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I, the undersigned counsel, hereby certify that I electronically filed the foregoing with the

Clerk of the Court using the ECF system which sent notification of such filing to all counsel of

record.


          This the 30th day of May, 2018.


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